Case 6:20-cr-00070-JDK-KNM Document 35 Filed 11/04/21 Page 1 of 2 PageID #: 100




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA                            §
                                                      §
                                                      §
  v.                                                  §   CASE NUMBER 6:20-CR-70-JDK
                                                      §
                                                      §
  JACOLBY FITZGERALD SIMMONS (1)                      §
                                                      §
                                                      §

             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE
                           PURSUANT TO RULE 11(c)(1)(C)

        Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

        On November 4, 2021, this cause came before the undersigned United States Magistrate

 Judge for a plea of guilty to an Indictment charging the defendant in Count One with a violation

 of Title 21 U.S.C. § 841(a)(1) - Possession with Intent to Distribute 500 Grams or More of

 Methamphetamine. After conducting said proceeding in the form and manner prescribed by FED.

 R. CRIM. P. 11, the undersigned finds that:

        a.      Defendant, after consultation with counsel of record, has knowingly and voluntarily

 consented to the administration of the Guilty Plea in this cause by a United States Magistrate Judge,

 subject to a final acceptance and imposition of sentence by the District Judge;

        b.      Defendant and the government have entered into a plea agreement which has been

 filed and disclosed in open court pursuant to FED. R. CRIM. P. 11(c)(2);

        c.      Defendant is fully competent and capable of entering an informed plea, that the

 defendant is aware of the nature of the charges, the maximum penalties, and the consequences of


                                                  1
Case 6:20-cr-00070-JDK-KNM Document 35 Filed 11/04/21 Page 2 of 2 PageID #: 101




 the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

 basis in fact containing each of the essential elements of the offense; and

        d.      Defendant understands each of the constitutional and statutory rights enumerated

 in Rule 11(b) and wishes to waive these rights, including the right to a trial by jury.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea

 Agreement and the Guilty Plea of the defendant and that JACOLBY FITZGERALD SIMMONS

 should be adjudged guilty of that offense, reserving to the District Judge the option of rejecting

 the Plea Agreement pursuant to Rule 11(c)(5) if, after review of the presentence report, the agreed

 sentence is determined not to be the appropriate disposition of the case.

        Defendant waived his right to object to the findings of the Magistrate Judge in this matter,

 and the Government also waived its right to object, so the Court will present this Report and

 Recommendation to District Judge Jeremy D. Kernodle for adoption immediately upon issuance.


             So ORDERED and SIGNED this 4th day of November, 2021.




                                                   2
